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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

SELINA SOULE, ET AL.                          :
     Plaintiffs                               :
                                              : CIVIL ACTION NO.: 3:20-cv-00201 (RNC)
v.                                            :
                                              :
CONNECTICUT ASSOCIATION OF                    :
OF SCHOOLS, INC., ET AL.                      :
     Defendants                               : JUNE 30, 2020

                           DEFENDANTS’ JOINT MOTION
                           DEFENDANTS'
                      TO RECONVENE PRE-FILING CONFERENCE

       The Connecticut Association of Schools, Inc. d/b/a Connecticut Insterscholastic

           (“CIAC”), Bloomfield Board of Education, Cromwell Board of Education,
Conference ("CIAC"),

Glastonbury Board of Education, Canton Board of Education and Danbury Board of Education

     “School board Defendants"),
(the "School       Defendants”), Andraya Yearwood, T.M. and the Connecticut Commission on

                               (“CHRO”) (hereinafter collectively "Defendants"),
Human Rights and Opportunities ("CHRO")                           “Defendants”), through their

attorneys, hereby respectfully move this court to reconvene the pre-filing conference that was

continued on May 4, 2020 (Dkt. No. 101).

       Reasonable cause exists to grant this motion. On April 24, 2020, Defendants filed a request

for a pre-filing conference in anticipation of filing motion(s) pursuant to Fed. R. Civ. P. 12(b)(1),

12(b)(6); 12(e) and/or 12(f)(2) (Dkt. No. 97). On May 4, 2020, the pre-filing conference was held

                         Plaintiffs’ sudden disclosure that they would be filing a Motion to
but not completed due to Plaintiffs'

Disqualify the Honorable Robert N. Chatigny from this case. On June 16, 2020, the Court denied

Plaintiffs’ motion (Dkt. No. 121). Therefore, the May 4, 2020 conference should be reconvened
Plaintiffs'

so that Defendants may proceed with filing their anticipated motions.

       WHEREFORE, for all the reasons set forth above, the Defendants respectfully request that

this motion be granted.
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                            DEFENDANTS,
                            BLOOMFIELD BOARD OF EDUCATION
                            CROMWELL BOARD OF EDUCATION


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                            INC. D/B/A CIAC AND DANBURY BOE


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                            GLASTONBURY BOE AND
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                                 CERTIFICATE OF SERVICE
                                          th
        This is to certify that on this 30
                                        30th day of June, 2020, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the Court's
                                                                 Court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court's
                                                      Court’s CM/ECF System.

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